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 5

 6                         IN THE UNITED STATES DISTRICT COURT
                                    DISTRICT OF IDAHO
 7
     LAVENDER RAIN THOMPSON,
 8                                                    Case No.
                     Plaintiff,
 9
            vs.
10                                                    PLAINTIFF’S COMPLAINT AND
     METROPOLITAN LIFE INSURANCE                      DEMAND FOR JURY TRIAL
11   COMPANY, a New York corporation, and
     PROVIDENCE HEALTH & SERVICES, a
12   Washington corporation,

13                Defendants.

14

15          Plaintiff LAVENDER RAIN THOMPSON, for her claims against Defendants,

16   alleges as follows:

17
                                         I.
18                IDENTITY OF THE PARTIES, JURISDICTION AND VENUE

19          1.1      Plaintiff LAVENDER RAIN THOMPSON (hereafter “Ms. Thompson”)

20   was and is an individual residing in the State of Idaho, Kootenai County, City of

21   Rathdrum.

22          1.2      Defendant METROPOLITAN LIFE INSURANCE COMPANY (hereafter

23   “MetLife”) is domiciled in the State of New York, and licensed to transact life, health

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 1   and disability insurance in the State of Idaho, and transacts regular business activity in

 2   Kootenai County, State of Idaho.

 3          1.3     Defendant PROVIDENCE HEALTH & SERVICES (hereafter “PHS”)

 4   was and is a Washington corporation authorized to conduct business in the State of Idaho

 5   and regularly conducts business in Kootenai County, State of Idaho.

 6          1.4     The Plaintiff is a citizen of the State of Idaho. MetLife is a corporation

 7   incorporated under the laws of the State of New York with its principal place of business

 8   in the State of New York. PHS is a Catholic Health care ministry and a non-profit

 9   corporation incorporated under the laws of the State of Washington with its principal

10   place of business in the State of Washington.       The amount in controversy exceeds

11   $75,000.00. This Court therefore has diversity jurisdiction over this matter pursuant to

12   28 U.S.C. §1332.

13
                                           II.
14                                GENERAL ALLEGATIONS

15          2.1     Plaintiff incorporates hereby by reference as if fully set forth each and

16   every allegation of the preceding paragraphs of this Complaint.

17          2.2     Ms. Thompson is a registered nurse and an employee of PHS.

18          2.3     As an employee of PHS, Ms. Thompson was eligible for long term

19   disability benefits under a group insurance policy issued by MetLife to PHS, for the

20   benefit of its employees. This policy provided for long term disability benefits payable to

21   Ms. Thompson in the event she was unable to work due to injury or illness.

22          2.4     On or about December 20, 2016, Ms. Thompson became disabled when

23   she developed severe right lower extremity compartment syndrome from a bleed

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 1   resulting in elevated compartment pressures and permanent damage to the sciatic nerve

 2   with ensuing right foot drop. As a result of the debilitating injury to her right lower

 3   extremity, Ms. Thompson was unable to work in any capacity for a period of thirteen (13)

 4   months, from December 20, 2016 through January 28, 2018. Ms. Thompson has not yet

 5   resumed work in any capacity, but is scheduled to resume some work on a part-time

 6   capacity on April 15, 2018.

 7             2.5   Ms. Thompson has filed a claim for long term disability benefits but was

 8   denied on June 16, 2017 due to an absence of requested information.

 9             2.6   Ms. Thompson appealed the denial and provided additional information.

10   However, on February 22, 2018, Defendants once again denied her claim, concluding that

11   the medical information provided did not support functional limitations that would have

12   prevented Ms. Thompson from performing her own occupation during the 180-day

13   contractually required elimination period. Of note, Defendants mistakenly calculated the

14   elimination period to begin on August 9, 2016 rather than December 20, 2016.

15   Furthermore, Ms. Thompson was informed that she had exhausted the administrative

16   review process under the Plan, and no further appeal would be considered.

17             2.7   Ms. Thompson has satisfied and met all the conditions, terms and

18   provisions for coverage and payment of benefits under the policies and plans relevant

19   hereto.

20                                              III.
                                  FIRST CAUSE OF ACTION
21               (Improper Denial of Benefits – 29 U.S.C. § 1132(a)(1)(B), §1132(c)

22             3.1   Plaintiff incorporates herein by reference as if fully set forth each and

23   every allegation of the preceding paragraphs of this Complaint.

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 1           3.2    Defendants have breached their obligations under the long term disability

 2   plan and policy of insurance by denying Ms. Thompson’s claim and failing to pay the

 3   benefits due under the same.

 4           3.3    The denial of long term disability benefits by the employer and plan

 5   administrator, PHS, as well as the insurer and claims administrator, MetLife, is arbitrary,

 6   capricious, unsupported by substantial evidence, erroneous and a matter of law, and in

 7   violation of ERISA.

 8           3.4    Ms. Thompson is entitled to recover from the Defendants the long term

 9   disability benefits due her.

10           3.5    Ms. Thompson is entitled to declaratory relief in the form of a judgment

11   requiring payment of long term disability benefits by the Defendants so long as the

12   conditions, terms and provisions of the relevant policies and/or plan provisions are

13   satisfied.

14           3.6    This cause of action arises under the Employee Retirement Income

15   Security Act of 1974, 29 U.S.C. 1001, et seq. Plaintiff brings this cause of action

16   pursuant to ERISA 502(a)(1)(B), 29 U.S.C. 1132(a)(1)(B). This Court has jurisdiction

17   pursuant to ERISA 502(e), 29 U.S.C. 1132(e). Venue is proper in that the breach took

18   place within the District of Idaho and that the Defendants may be found within the

19   District of Idaho pursuant to ERISA 502(e), 29 U.S.C. 1132(e).

20                                              IV.
                                    SECOND CAUSE OF ACTION
21                                      (Breach of Contract)

22           4.1    Plaintiff incorporates herein by reference all other paragraphs of this

23   Complaint.

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 1          4.2     All of the conditions to be performed on the part of Plaintiff under the

 2   provisions of the aforementioned insurance contract have been performed, waived or

 3   excused.

 4          4.3     Plaintiff timely informed Defendants of her claim. Plaintiff has served

 5   Defendants with a Proof of Loss and/or has otherwise fully fulfilled her obligations as the

 6   insured under the insurance contract. Yet, Defendants have refused to make payments

 7   called for by the benefits plan and insurance contract, thereby breaching said contract.

 8          4.4     As a direct and proximate result of the breaches of contract by Defendants,

 9   Plaintiff has been injured in a sum representing amounts unpaid, payable and due

10   Plaintiff pursuant to said contract, together with legal interest allowed under Idaho law.

11          4.5     As a further direct and proximate result of Defendants’ breaches of

12   contract, Plaintiff has suffered and will continue to suffer consequential damages in an

13   amount to be determined according to the proof at trial.

14          4.6     As a direct and proximate result of Defendants’ breaches of contract,

15   Plaintiff has incurred damages set forth in the Prayer for Relief below. These damages

16   include attorney’s fees and costs.

17                                            V.
                                 THIRD CAUSE OF ACTION
18                          (Breach of Good Faith and Fair Dealing)

19          5.1     Plaintiff incorporates herein by reference as if fully set forth each and

20   every allegation of the preceding paragraphs of this Complaint.

21          5.2     In the context of insurance administrator, whether that be plan or claims

22   administrator, there is an implied covenant and/or duty to act in good faith and fair

23   dealing. Defendants impliedly covenanted that they would deal with Plaintiff fairly and

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 1   honestly, and do nothing to impair, interfere with or hinder her enjoyment of benefits due

 2   under the group insurance policy and benefits plan.

 3          5.3     Following the sudden and abrupt onset of Plaintiff’s debilitating medical

 4   condition, a proper claim by Plaintiff was made to the Defendants for payment of long

 5   term disability benefits. Further, Ms. Thompson correctly and accurately stated that the

 6   date her disability began was December 20, 2016.

 7          5.4     The claim referenced in the preceding paragraph was supported with an

 8   opinion from Karen A. Stanek, M.D., Ph.D., Ms. Thompson’s treating physician, who

 9   opined that Ms. Thompson was unable to work from December of 2016 through January

10   28, 2018, and was dependent on a walking assistive device for six (6) months.

11          5.5     Defendants hired their own medical consultant who also opined that Ms.

12   Thompson would be restricted from all work activities as of December 24, 2016 through

13   January 28, 2018. Furthermore, Defendants’ medical consultant opined that after January

14   28, 2018, Ms. Thompson would be limited to standing for only 20 minutes continuously,

15   but not to exceed 2 hours of standing per an 8-hour day.

16          5.6     Defendants’ continued throughout the handling of Ms. Thompson’s claim

17   to deny benefits for long term disability on the basis that the medical information did not

18   support functional restrictions or limitations from August 9, 2016 continuously through

19   the elimination period, or February 5, 2017.          However, Defendants provide no

20   explanation for how they arrived at the disability start date of August 9, 2016 when all

21   the medical information provided supported a disability start date of December 24, 2016.

22          5.7     Furthermore, Defendants agree with Plaintiff and concluded that the

23   medical information supported functional restrictions or limitations from December 24,

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 1   2016 through January 28, 2018, well beyond the 180-day contractual elimination period.

 2   Of note, the Summary Plan Description defines “Elimination Period” as beginning on

 3   “the day you become disabled”.

 4          5.8       Defendants’ actions as heretofore described were unreasonable and

 5   devised to produce a basis upon which they could shirk their obligations to Plaintiff.

 6          5.9       Defendants failed to conduct an objective and reasonable investigation and

 7   failed to acknowledge information Plaintiff had supplied.

 8          5.10      Defendants failed to show even the most basic understanding of the

 9   benefit plan and insurance policy.

10          5.11      Defendants’ actions as delineated herein evidence that they made no

11   attempt to conduct a fair settlement of Plaintiff’s claim.

12          5.12      Defendants’ liability became reasonably clear once they came into receipt

13   of medical evidence from Plaintiff’s treating physician, which evidence was corroborated

14   by Defendants own consulting physician. As a result, Plaintiff’s claim was no longer

15   fairly debatable.

16          5.13      Defendants’ failure to acknowledge such information and to then

17   commence an investigation designed to disprove the same were not the result of a good

18   faith mistake.

19          5.14      Defendants further delayed and then denied paying Plaintiff’s claim

20   without any reasonable basis for their delay or ultimate denial of benefits.

21          5.15      As a direct and proximate result of the aforementioned wrongful conduct,

22   Plaintiff has suffered anxiety, worry, mental and emotional distress, and other incidental

23   damages and out of pocket expenses, causing Plaintiff to suffer general and special

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 1   damages in an amount to be determined according to proof at trial, but in all events

 2   greater than the jurisdictional minimum of this Court.

 3                                          VI.
                                 FOURTH CAUSE OF ACTION
 4                                    (Attorney Fees)

 5          6.1     Plaintiff incorporates herein by reference as if fully set forth each and

 6   every allegation of the preceding paragraphs of this Complaint.

 7          6.2     It has been necessary for Plaintiff to hire the law firm of OWENS,

 8   McCREA & LINSCOTT, PLLC in Hayden, Idaho to prosecute this action.

 9          6.3     Plaintiff is entitled to reasonable attorney fees pursuant to Idaho Code

10   §12-121 and §41-1839 relating to attorney fees and suits against insurers.

11
                                          VII.
12                                DEMAND FOR JURY TRIAL

13          7.1     Pursuant to Fed. R. Civ. P. 38(b) and the Seventh Amendment to the

14   United States Constitution, Plaintiff demands a trial by jury of all issues so triable under

15   the law.

16

17          WHEREFORE, Plaintiff prays for judgment against Defendants as follows:

18          1.      For all amounts due for long term disability benefits in accordance with

19                  proof made at trial;

20          2.      For declaratory judgment that Plaintiff is entitled to coverage and benefits

21                  for long term disability;

22

23

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 1         3.     For Plaintiff’s attorney fees and costs incurred in this action in accordance

 2                with proof and as allowed under ERISA 502(g)(1), 29 U.S.C. 1132(g)(1);

 3                and as allowed under Idaho Code §12-121 and §41-1839

 4         4.     For an award of general damages according to proof at trial;

 5         5.     For an award of special damages according to proof at trial;

 6         6.     For an award of consequential damages according to proof at trial;

 7         7.     For prejudgment interest on the damages alleged herein; and

 8         8.     For such other and further relief as the court may deem proper.

 9

10         DATED this 9th day of April, 2018.

11                                       OWENS, McCREA & LINSCOTT, PLLC

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13

14                                       /s/
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